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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

EVAN STEWART, a single woman,
NO.
Plaintiff,
v. COMPLAINT
THE UNITED STATES OF AMERICA,

Defendant.

 

 

 

I PARTIES

1.1 Plaintiff, Evan Stewart, at all times relevant was a resident of King County, State
of Washington.

1.2 The United States of America created the United States Postal Service (“USPS”) as
an independent establishment of the executive branch. The USPS was created and is governed by
the Postal Reorganization Act (“PRA”), 39 U.S.C. §§ 101 — 5605. Under the Federal Tort Claims
Act (28 U.S.C. §§ 2679(a) & 1346(b), the United States is the proper party defendant in any suit
brought pursuant to the Federal Tort Claims Act.

II. JURISDICTION AND VENUE

2.1 Plaintiff brings this action against the United States in accordance with federal

law. Plaintiff has served a tort claim form in accordance with 28 C.F.R. § 14.1 et seg. Plaintiff

files this action within six months of the date the final denial of claims was mailed by the USPS

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Tort Claims Examiner.

2.2 This Court has jurisdiction over this matter under 28 U.S.C. § 1346(b). This
Court has original jurisdiction over claims against the United States.

2.3. The events giving rise to this lawsuit occurred in King County, Washington.
Venue is proper in this district under 28 U.S.C. § 1391(e) and/or § 1391(b)(2).

Il. FACTS

3.1 On or about June 12, 2020, near the intersection of 4" Ave and Holgate in Seattle,
King County, Washington, there was a motor vehicle collision involving Plaintiff Steward and a
United States Postal Service truck. The driver, whose name is unknown, negligently failed to keep
a proper lookout and failed to stop, causing his vehicle to slam into the rear of Plaintiff's vehicle.

3.2 At the time of the collision, the driver was a USPS employee, and he was driving a
USPS postal vehicle. At all times relevant, the driver was acting in the course and scope of his
employment with the USPS.

IV. CLAIMS FOR RELIEF
A. Negligent Hiring, Training, or Supervision

4.1 Defendant has a duty to exercise reasonable care in hiring, training, and
supervising its agents and employees. This duty also includes a responsibility to properly
monitor, observe, and report employee conduct which is either dangerous to the community or
unlawful.

4.2 Defendant breached these duties in a negligent manner.

4.3. Defendant’s negligence proximately caused Plaintiff to suffer damages.

B. Negligent Operation of a Vehicle

4.4 The subject motor vehicle collision was caused by the careless, negligent, and

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unlawful driving of the driver of the USPS vehicle that struck Plaintiff. More particularly, the
driver failed to stop for traffic, failed to control his vehicle and failed to keep a proper lookout to
Plaintiff Stewart.

4.5 Defendant is vicariously liable for the actions of its employees when done within
the scope of their employment.

4.6 Defendant’s USPS employee had a duty to exercise reasonable care in operating
the USPS vehicle, including but not limited to, yielding the right-of-way to Mr. Stewart.

4.7 The USPS employee breached this duty in a negligent manner in failing to exercise
reasonable care for the safety of others.

4.8 The USPS employee’s negligence was the proximate cause of the collision with
Ms. Heath.

V. DAMAGES

5.1. As a direct and proximal result of the driver’s negligence in operating the USPS
vehicle, Plaintiff Stewart suffered injury to his body and property damage to his vehicle. Plaintiff
Stewart has incurred bills and other expenses for medical care. Plaintiff Steward suffered and
continues to suffer pain, discomfort and limitations.

VI. RELIEF REQUESTED

WHEREFORE, Plaintiff requests judgment against Defendant as follows:

1. For economic damages, including medical bills, property damage, and other expenses,
and general damages for Plaintiff, including past and future pain, suffering, emotional duress and
permanent bodily injuries in an amount to be determined at the trial of this matter;

2. For costs incurred by Plaintiff;

3. For lost income incurred by Plaintiff;

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4. For other such relief as the Court may deem just and proper.
VIL. RESERVATION OF RIGHTS
7.1 Plaintiff reserves the right to assert additional claims as may be appropriate
following further investigation and discovery.
Dated this Due, of 1 AV 2021.

Wattel & York, LLC

By: Dee. Lp

ach J. Hansen, WSBA # 41827
Attorneys for the Plaintiff

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